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                               Proposed Order Pg 1 of 2



UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
________________________________________________
                                                             :       Case No. 08-13555 (SCC)
IN RE:                                                               :
                                                :                    Chapter 11
LEHMAN BROTHERS HOLDINGS, INC. et al.,          :
                                                :                    (Jointly Administered)
      Debtors.                                  :
                                                 :
________________________________________________


          ORDER GRANTING CREDICAN C.A.’S VERIFIED MOTION TO
         DESIGNATE DIAZ REUS & TARG, LLP. AS AGENT FOR RECEIPT
     OF DISTRIBUTIONS AND HONOR CHANGE OF ADDRESS FOR PURPOSES
        OF THE FIFTH DISTRIBUTION AND ALL FUTURE DISTRIBUTIONS

       Upon the Motion (the “Motion”) of Credican, C.A., (“Credican”)[ECF No.               ], by its

counsel Diaz, Reus & Targ, LLP. (“DRT”), to designate DRT, as its agent for receipt of

distributions and to honor its change of address for pursposes of the fifth distribution and all

future distributions, and all exhibits attached thereto; and adequate notice of the Motion having

been given; and no objections to the Motion having been filed; and the Court being satisfied that

the relief requested in the Motion is necessary and in the best interest of Credican and the

creditors and the Debtors’ estates; and after due deliberation and sufficient cause appearing

therefor,

IT IS HEREBY ORDERED that;

         1.    The Motion is granted, subject to the terms and conditions of this Order.

         2.    The Debtors and Plan Administrator are authorized and directed to issue all

distributions due to and on behalf of Credican with respect to the Fifth Distribution and all future

distributions due to Credican under the Modified Third Amended Joint Chapter 11 Plan of

Lehman Brothers Holdings, Inc. and its Affiliated Debtors, dated December 5, 2011 [ECF No.



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22973] and the Order in Aid of Execution of the Modified Third Amended Chapter 11 Plan of

Lehman Brothers Holdings, Inc. and Its Affiliated Debtors, dated January 31, 2013 [ECF. No.

34348] made payable to Diaz, Reus & Targ, LLP. Trust Account.

       3.     Credican shall provide the Debtor and the Plan Administrator its trust account

information on or before March 31, 2014.

Dated: New York, New York
______________, 2014



                                           ___________________________________
                                           HONORABLE SHELLEY C. CHAPMAN
                                           UNITED STATES BANKRUPTCY JUDGE




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